Case 5:18-cv-00541-EEF-MLH Document 319-1 Filed 03/17/20 Page 1 of 3 PageID #: 7000




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

  ANTHONY TELLIS, ET AL                               CIVIL ACTION NO. 18-cv-0541

  VERSUS                                              JUDGE ELIZABETH E. FOOTE

  JAMES M LEBLANC, ET AL                              MAGISTRATE JUDGE HORNSBY


                                  MEMORANDUM ORDER

          Before the court is Defendants’ Motion to Compel 30(b)(6) Deposition and for

   Sanctions. Doc. 260. After carefully reading the briefs and supplements, the motion to

   compel is granted in part and denied in part as follows.

          The court finds that the parties have satisfied the meet and confer requirement

   through their comments and objections during the deposition. Moreover, the 30(b)(6)

   witness was wholly unprepared to testify on most of the designated topics on behalf of the

   Advocacy Center. His unpreparedness was the equivalent of producing no witness at all.

   Plaintiffs’ counsel’s offers to supplement discoveiy after the deposition does not cure this

   deficiency. Imposing an additional meet and confer under the unique circumstances

   presented here would not have led to a resolution of the discovery dispute.

          The biggest problem with this discovery dispute is that the law imposed on the

   Advocacy Center (a named party to this litigation) an obligation to file a motion for a

   protective order if it had objections to the 30(b)(6) notice. Wood v. PACCAR, 2020 WL

   831142 (N.D. Iowa 2020); Orchestrate v. Trombetta, 2015 WL 11120526 (N.D. Tex.

   2015)(”A party cannot fail to raise objections to Rule 30(b)(6) deposition notices, present
Case 5:18-cv-00541-EEF-MLH Document 319-1 Filed 03/17/20 Page 2 of 3 PageID #: 7001




   a representative to testify on those topics, and then later raise objections to the scope or

   propriety of the topics. The objections, when raised for the first time (in some fashion)

   were untimely by many months and had been waived.”) Furthermore, Rule 37(d)(2)

   provides in relevant part that a failure of a party to appear for a deposition after prior notice

   is not excused on the ground that the discoveiy was objectional “unless the party failing to

   act has a pending motion for a protective order under Rule 26(c).”

          The Advocacy Center filed no such motion. Therefore, the court finds that it has

   waived its objections to the 30(b)(6) notice. The Advocacy Center is ordered to present a

   fully prepared authorized representative to testify on its behalf on the topics identified in

   the notice of deposition on a date mutually agreeable to all parties and counsel.

          The court is compelled, however, to exercise its discretion and act on its own motion

   pursuant to Rule 26(b)(2)(C) to strike certain topics as outside the scope of permissible

   discovery and not proportional to the needs of this case. The following topics are declared

   off-limits, except as noted:

                 5.      The identity and background of all members ofthe Advocacy Center’s
          board of directors and PAIMI Council.
                 7.      The Advocacy Center’s relationships with Dr. Kathryn Burns, Craig
          Haney, Slate Technology, and Dan Pacholke.
                 9.     The Advocacy Center’s knowledge of and advocacy related to the
          maximum custody and restrictive housing policies in any matters other than the
          instant case.

                  12.    This topic is limited to DWCC.

                  18.    The Advocacy Center’s funding, structure, and past and present work

          in the area of prison reform.

                                             Page 2 of 3
Case 5:18-cv-00541-EEF-MLH Document 319-1 Filed 03/17/20 Page 3 of 3 PageID #: 7002




                  19.    Any evidence the Advocacy Center intends to introduce at trial ofthis
           matter. This information should have been sought in written discovery.

                  20.    Any witness the Advocacy Center may call to testify at trial of this
           matter. This information should have been sought in written discovery.


           The 30(b)(6) deposition may take place after the discovery deadline. However, no

   other deadlines are extended as a result of this order.

           Based on the court’s evaluation ofhow this discoveiydispute unfolded, Defendants’

   request for sanctions is denied.

           THUS DONE AND SIGNED in Shreveport, Louisiana, this 17th day of March,

   2020.




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                                                             1.S. f\lagistrate Judge




                                            Page 3 of 3
